                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION

BRENT NIX, individually and on behalf of all         Civil Action No. 7:17-CV-00189-D
others similarly situated,

                              Plaintiff,
               v.

THE CHEMOURS COMPANY FC, LLC, THE
CHEMOURS COMPANY, E.I. du PONT de
NEMOURS AND COMPANY, INC., E.I.
DUPONT CHEMICAL CORPORATION,
ELLIS H. MCGAUGHY, and MICHAEL E.
JOHNSON,

                              Defendants.

ROGER MORTON, individually and on behalf             Civil Action No. 7:17-cv-00197-D
of all others similarly situated,
                              Plaintiff,
               v.

THE CHEMOURS COMPANY FC, LLC, THE
CHEMOURS COMPANY, E.I. du PONT de
NEMOURS AND COMPANY, INC., E.I.
DUPONT CHEMICAL CORPORATION, ELLIS
H. MCGAUGHY, AND MICHAEL E.
JOHNSON,

                              Defendants.

VICTORIA CAREY, MARIE BURRIS,                        Civil Action No. 7:17-CV-00201-D
MICHAEL KISER, and BRENT NIX,
individually and on behalf of all others similarly
situated,

                              Plaintiffs,
               v.

E.I. du PONT de NEMOURS AND COMPANY
and THE CHEMOURS COMPANY FC, LLC,

                              Defendants.


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  CLASS REPRESENTATIVES’ UNOPPOSED MOTION FOR APPROVAL OF THE
      FORM AND MANNER OF FIRST SUPPLEMENTAL CLASS NOTICE

       Pursuant to Fed. R. Civ. P. 23(c), and for the reasons set forth in the accompanying

Memorandum of Law (“Memorandum”), Class Representatives Victoria Carey, Marie Burris, and

Brent Nix (collectively, “Class Representatives”) respectfully move the Court to approve the form

and manner of supplemental class notice. Subject to and without waiving any of the arguments

set forth in Defendants’ Motion for Class Decertification, Dkt. 629, Defendants do not oppose this

motion.


 Date: June 16, 2025                                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 16th day of June, 2025, I electronically filed the foregoing

document with the Clerk of Court using the ECF system, with notices of case activity to be

generated and sent electronically to counsel of record who are registered to receive such service.

                                             /s/ S. Douglas Bunch
                                             S. Douglas Bunch




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